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EXHIBIT E
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                        Levi Walls                                            •••
                        July 27        PM N

                I have written the following statement in an attempt to share
                my experiences and shed light on the situation regarding the
                Journal of Schenkerian Studies. Furthermore, the purpose of
                this statement is to emphasize how deeply sorry I am for my
                involvement in the journal. Although I had no control over the
                content of the journal, or over the decisions regarding review
                processes, I am guilty of complicity because I remained in
                the position after I realized that my whistleblowing efforts
                were for naught. I hope the following account provides
                helpful context:
                In summer 2019 (when I had just finished my first year as a
                PhD student in music theory at UNT) I was asked if I would
                like to take on a research assistantship, as assistant editor of
                the JSS. It would allow me to gain skills in typesetting,
                copyediting, and general understanding of the process that
                goes into an academic journal. I saw the assistantship as a
                good opportunity, as I am interested in research. And,
                naturally, as the position was under the supervision of no
                less than five UNT faculty members who I believed had my
                best academic interest at heart, it didn't seem like something
                I would regret. Throughout the process, myself and the
                editor at the time were to report directly to Timothy Jackson
                and Stephen Slottow, with major decisions about the
                journal's contents to be decided by them. As I will explain,
                what appeared to be a positive opportunity for a young
                graduate student quickly turned into an extremely shameful
                position that I feared I could not leave without significant
                damage to my career.

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         For the first few months, the job seemed fine, as I got to
         work with three articles on various topics, typesetting and
         offering clarity-related edits. However, after Philip Ewell's
         SMT presentation, Timothy Jackson decided that it was the
         responsibility of the journal to "protect Schenkerian
         analysis, Although—after serious thought—I essentially
         agreed with Ewell's talk, it was not up to me what did or did
         not go into the journal. After seeing some of the responses, I
         started to become incredibly worried. I gave comments to
         one author, including that they seemed to devalue other
         fields of study, that they cherrypicked information to make
         Schenker appear in a better light, and that they confused
         cultural appropriation with egalitarianism. Shortly after, I was
         told by Timothy Jackson (my superior in at least three
         senses: a tenured faculty member who ran the journal and
         also served as my academic advisor) that it was not my job
         to censor people. After this, things continued to go in a
         direction that I found to be disgusting.
         I set up a secret meeting with my department chair,
         specifically acknowledging that I was coming to him as a
         whistleblower because I was worried about the potential
         dangers that the journal posed for the College of Music and
         for rational discourse in music theory. My warning was not
         heeded and—although I feel that he had the best of
         intentions—he expressed reluctance to step in and control
         the actions of the journal. Furthermore, after my warning
         that Dr. Jackson was woefully ignorant about politically
         correct discourse and race relations, he rebutted that "Dr.
         Jackson did very well in the recent diversity and inclusion
         workshops."
         After this, I feared that I would remain powerless and
         voiceless in regard to the running of the journal (despite my
         misleading title of "assistant editor," and the fact that I was
         meant to become "editor" for volume 13). In hindsight, I
         should have quit the journal in protest. However, I feared
         retaliation from Timothy Jackson: he is an incredibly well-
         connected and influential figure in Schenkerian circles, and



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         meant to become "editor" for volume 13). In hindsight, I
         should have quit the journal in protest. However, I feared
         retaliation from Timothy Jackson: he is an incredibly well-
         connected and influential figure in Schenkerian circles, and
         I've lost count of the number of people who have told me
         over the years that I would regret it if I ever got on his bad
         side. Despite this—as well as my worry about losing the
         financial means to support my family—I am ashamed to say
         that I stayed in the position. I continued to do the
         administrative tasks assigned to me, to typeset the articles,
         provide basic copyediting, and to correspond with authors
         about their edits via email. Eventually, I read Timothy
         Jackson's response, which left me dumbfounded by it's
         disgusting and harmful rhetoric. Even after that, I feared to
         do anything other than grin and bear a job that I knew was
         harmful to UNT, the field of music theory, people of color,
         and basic human decency. For that cowardice, I am truly
         sorry.
         Sincerely,
         Levi Walls


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         •       David Fetterman
                 Levi, thank you for this courageous and
                 vulnerable statement. Rest assured. von have


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